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                                                                     CLERK, U.S. DISTRICT COURT
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                                                                      09/21/21

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                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                     BY: ___________________ DEPUTY




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8                          UNITED STATES DISTRICT COURT

9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                              June 2021 Grand Jury

11   UNITED STATES OF AMERICA,              CR 2:21-cr-00444-RGK

12            Plaintiff,                    I N D I C T M E N T

13            v.                            [18 U.S.C. § 922(o)(1): Possession
                                            of a Machinegun; 18 U.S.C.
14   THOMAS SULLIVAN MANGUM,                §§ 924(d)(1) and 28 U.S.C.
                                            § 2461(c): Criminal Forfeiture]
15            Defendant.

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17        The Grand Jury charges:
18                             [18 U.S.C. § 922(o)(1)]
19        On or about July 8, 2021, in Santa Barbara County, within the
20   Central District of California, defendant THOMAS SULLIVAN MANGUM
21   knowingly possessed a machinegun, as defined in Title 18, United
22   States Code, Section 921(a)(23), and Title 26, United States Code,
23   Section 5845(b), namely, a .308 Winchester caliber privately
24   manufactured rifle, bearing no serial number (commonly referred to as
25   a “ghost gun”), equipped with a Heckler and Koch, G3-type machinegun
26   trigger mechanism, which defendant MANGUM knew to be a machinegun.
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1                               FORFEITURE ALLEGATION

2                [18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c)]

3         1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States of America

5    will seek forfeiture as part of any sentence, pursuant to Title 18,

6    United States Code, Section 924(d)(1), and Title 28, United States

7    Code, Section 2461(c), in the event of the defendant’s conviction of

8    the offense set forth in this Indictment.

9         2.   The defendant, if so convicted, shall forfeit to the United
10   States of America the following:
11             (a)   All right, title, and interest in any firearm or
12   ammunition involved in or or used in any such offense, including but
13   not limited to the following: a .308 Winchester caliber privately
14   manufactured rifle, bearing no serial number, equipped with a Heckler
15   and Koch, G3-type machinegun trigger mechanism;
16             (b)   To the extent such property is not available for
17   forfeiture, a sum of money equal to the total value of the property
18   described in subparagraph (a).

19        3.   Pursuant to Title 21, United States Code, Section 853(p),

20   as incorporated by Title 28, United States Code, Section 2461(c), the

21   defendant, if so convicted, shall forfeit substitute property, up to

22   the value of the property described in the preceding paragraph if, as

23   the result of any act or omission of the defendant, the property

24   described in the preceding paragraph or any portion thereof (a)

25   cannot be located upon the exercise of due diligence; (b) has been

26   transferred, sold to, or deposited with a third party; (c) has been

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1    placed beyond the jurisdiction of the court; (d) has been

2    substantially diminished in value; or (e) has been commingled with

3    other property that cannot be divided without difficulty.

4                                               A TRUE BILL
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6
                                                       /S/
                                                Foreperson
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8    TRACY L. WILKISON
     Acting United States Attorney
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11   SCOTT M. GARRINGER
     Assistant United States Attorney
12   Chief, Criminal Division

13   JOSHUA O. MAUSNER
     Assistant United States Attorney
14   Deputy Chief, General Crimes
     Section
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     ASHLEY FILLMORE
16   Assistant United States Attorney
     General Crimes Section
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